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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

ADVANCED CABLE TIES, INC.,

            Plaintiff,

vs.                                          CASE NO. 3:18-cv-02035

AMERICAN ELITE MOLDING, LLC, and
ROBERT D. SIRES,

            Defendants.


                        NOTICE OF APPEARANCE AND
                     DESIGNATION OF EMAIL ADDRESSES

      NOTICE IS GIVEN that James R. Green, Jr., of the firm Clark Partington,

hereby enters his appearance as counsel for Defendants, AMERICAN ELITE

MOLDING, LLC and ROBERT D. SIRES, in this proceeding and respectfully

requests that copies of any and all pleadings, notices and other papers filed herein

be served on the undersigned. Additionally, James R. Green, Jr. hereby designates

the following primary and secondary e-mail addresses for e-mail service in the

above-styled case:

      Primary email address:          jgreen@clarkpartington.com;

      Secondary email addresses:      tmanley@clarkpartington.com
                                      bwilkerson@clarkpartington.com
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Dated this 16th day of October, 2018.


                                        /s/ James R. Green, Jr.
                                        ROBERT J. POWELL
                                        Florida Bar No. 0070318
                                        JAMES R. GREEN, JR.
                                        Florida Bar No. 0047326
                                        Clark Partington
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                                        (850) 434-9200
                                        Fax (850) 432-7340
                                        Attorneys for Defendants,
                                        American Elite Molding, LLC, and
                                        Robert D. Sires


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing has been
furnished in the manner noted below to the following on this 16th day of October,
2018:

Daniel M. Ewert                         Joseph D. Lipchitz
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                                        /s/ James R. Green, Jr.
                                        JAMES R. GREEN, JR.




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